                   Case 1:20-mj-00416-SJB ECF No. 35 filed 10/13/20 PageID.83 Page 1 of 1

                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                    CRIMINAL MINUTE SHEET
USA v.       Kaleb Franks                                                              Mag. Judge: Sally J. Berens

    CASE NUMBER                       DATE                TIME (begin/end)            PLACE                   INTERPRETER

                                                         9:40 a.m. - 1:04 p.m.
 1:20-mj-00416-SJB                  10/13/2020                                      Grand Rapids
                                                         2:04 p.m. - 3:03 p.m.

APPEARANCES:
Government:                                              Defendant:                                    Counsel Designation:
Nils R. Kessler, Austin Hakes                            Scott Graham                                  CJA Appointment


          OFFENSE LEVEL                                 CHARGING DOCUMENT/COUNTS                         CHARGING DOCUMENT
                                                                                                       Read
Felony                                      Complaint                                                  Reading Waived

             TYPE OF HEARING                                     DOCUMENTS                              CHANGE OF PLEA

    First Appearance                                Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                    Waiver of                                 of the
         mute              nolo contendre           Consent to Mag. Judge for
                           guilty                                                             Count(s) to be dismissed at sentencing:
         not guilty
                                                    Other:
    Initial Pretrial Conference
                                                                                              Presentence Report:
✔   Detention         (waived   )                                                                    Ordered      Waived
✔   Preliminary    (waived      )                Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                               Report & Recommendation
                                                                                                   No Written Plea Agreement
                                                 ✔ Order of Detention
    Revocation/SRV/PV
                                                    Order to file IPTC Statements
    Bond Violation                                                                                  EXPEDITED RESOLUTION
                                                    Bindover Order
    Change of Plea                                  Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                      Other:                                         expedited resolution
    Other:

                  ADDITIONAL INFORMATION                                                        SENTENCING
Government's witness FBI Special Agent Richard Trask testified;     Imprisonment:
Exhibits 1-22 admitted.                                             Probation:
                                                                    Supervised Release:
Oral motion for Rule 26.2 materials, granted.
                                                                    Fine: $
Defendant's request for continuance of preliminary hearing granted. Restitution: $
                                                                    Special Assessment: $
                                                                    Plea Agreement Accepted:             Yes    No
                                                                    Defendant informed of right to appeal:         Yes            No
                                                                    Counsel informed of obligation to file appeal:  Yes           No


                  CUSTODY/RELEASE STATUS                                               BOND AMOUNT AND TYPE

Detained                                                               $

CASE TO BE:           Set for Hearing before Mag. Judge               TYPE OF HEARING: Preliminary Hearing

Reporter/Recorder:          Glenda Trexler                            Courtroom Deputy:            J. Lenon
